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 1   JAMES R. GREINER, ESQ.
     CALIFORNIA STATE BAR NUMBER 123357
 2
     LAW OFFICES OF JAMES R. GREINER
 3   1024 IRON POINT ROAD
     FOLSOM, CALIFORNIA 95630
 4   TELEPHONE: (916) 357-6701
 5   FAX: (916) 920-7951
     E mail: jaygreiner@midtown.net
 6
     ATTORNEY FOR DEFENDANT
 7
     VALERIY NIKITCHUK
 8

 9                              IN THE UNITED STATES DISTRICT COURT FOR THE
10
                                         EASTERN DISTRICT OF CALIFORNIA
11

12

13
     UNITED STATES OF AMERICA, )                      CR.NO.S-14-44--MCE
14                              )
     PLAINTIFF,                 )                     STIPULATION BETWEEN THE PARTIES TO
15                              )                     CONTINUE THE STATUS CONFERENCE TO
16
                     v.         )                     THURSDAY, FEBRUARY 25, 2016 WITH
                                )                     EXCLUSION OF TIME FROM THE SPEEDY
17   ALEKSANDR KUZMENKO, et al.,)                     TRIAL ACT AND ORDER
                                )
18                              )
19   DEFENDANTS.                )
                                )
20   ___________________________)
21
                The parties to this litigation, the United States of America, represented by
22
     Assistant United States Attorney, Michele M. Beckwith, and for the defendants: 1-
23
     Kresta N. Dally representing Aleksandr Kuzmenko.; 2- Michael L. Chastaine
24

25   representing Petr Kuzmenko.; 3- Steven B. Plesser representing Arsen Muhtarov; and

26   4- James R. Greiner representing Valeriy Nikitchuk hereby agree and stipulate to the
27
     following1:
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                1
                    The government requested that the format presented in this stipulation be used by the
     parties.
                                                             1
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 1          1- By previous order, this matter was set for status on Thursday, September 24,

 2   2015, see docket number 70.

 3          2. By this Stipulation, the defendants collectively now move to continue the status
 4   conference until Thursday, February 25, 2016 and to exclude time pursuant to the
 5   Speedy Trial Act between Thursday, September 24, 2015 and Thursday, February
 6   25, 2016, under Local Codes T-2 (complexity due to the amount of discovery,
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     number of defendants and potential legal issues) and T-4 (time for adequate
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     attorney preparation), and for continuity of counsel. The government, to date, has
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     produced discovery of more than approximately 15,300 pages in this case.
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            3. The parties agree and stipulate to the following and request the Court to find
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     the following:
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                      a. The government has produced initial discovery to date which
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     consists of approximately over 15,300 pages.
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                      b. Counsel for all defendants need additional time to continue to review all
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     the discovery with their respective clients, to continue investigation into this case,
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17
     continue to do research, which includes legal research, in this case, and to otherwise

18   continue to do review and investigation, using due diligence, that this complex case

19   requires.

20                    d. Counsel for all defendants represents that the failure to grant the above
21   requested continuance would deny counsel for each individual defendant the
22   reasonable time necessary for effective preparation, taking into account the exercise of
23   due diligence.
24                    e. Petr Kuzmenko’s attorney, Mr. Chastaine, has completed his trial in
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     this district that began on June 22, 2015, (CR-S-11-450--TLN), and is now awaiting
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     sentencing.
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                      f. All defense counsel need additional time to review the over
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     approximately 15,300 pages of discovery with their respective clients, and to do
     investigation regarding that discovery and leads from their respective clients, with some

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 1   defendants having investigation in various states outside of the State of California.

 2                  g. The government, based on all of the above, does not object to the

 3   continuance.
 4                  h. To ensure continuity of counsel, and to allow sufficient time for
 5   discussions by and with and between the government and all defendants about the
 6   case and to explore any potential for possible resolution, in the exercise of reasonable
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     diligence the continuance of the status conference is reasonable.
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                    i. Based on the above stated findings, the ends of justice served by
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     continuing the case as requested outweigh the interest of the public and all the
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     defendants in a trial within the original date prescribed by the Speedy Trial Act.
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                    h. For the purpose of computing the time under the Speedy Trial Act, Title
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     18 U.S.C. section 3161, et seq., within which trial must commence, the time period from
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     Thursday, September 24, 2015 to Thursday, February 25, 2016, inclusive, is deemed
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     excludable pursuant to Title 18 U.S.C. section 3161(h)(7)(B)(ii) which corresponds to
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     Local Code T-2 and Title 18 U.S.C. section 3161(h)(7)(B)(iv) corresponding to Local
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17
     Code T-4, because it results from a continuance granted by the Court at defendants’

18   request on the basis of the Court’s finding that both, the case is complex due to the

19   amount of discovery and number of defendants and potential legal issues in the case

20   and that the ends of justice served by taking such action outweigh the best interest of
21   the public and all of the defendants in a speedy trial.
22          4. Nothing in this stipulation and order shall preclude a finding that other
23   provisions of the Speedy Trial Act dictate that additional time periods are excludable
24   from the period within which a trial must commence.
25
                            IT IS SO STIPULATED.
26
            Each attorney has granted James R. Greiner full authority to sign for each
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     individual attorney.
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 1        Respectfully submitted:
                              BENJAMIN B. WAGNER
 2                            UNITED STATES ATTORNEY
 3
     DATED: 9-21-15         /s/ Michele M. Beckwith
 4                          _____________________________________
                            Michele M. Beckwith
 5
                            ASSISTANT UNITED STATES ATTORNEY
 6                          ATTORNEY FOR THE PLAINTIFF
     DATED: 9-21-15
 7                          /s/ Kresta N. Dally
                            ___________________________________
 8
                            Kresta N. Dally
 9                          Attorney for Defendant
                            1- Aleksandr Kuzmenko
10
     DATED: 9-21-15         /s/ Michael L. Chastaine
11
                            __________________________________
12                          Michael L. Chastaine
                            Attorney for Defendant
13                          2- Petr Kuzmenko
14
     DATED: 9-21-15         /s/ Steve B. Plesser
15                          __________________________________
                            Steve B. Plesser
16                          Attorney for Defendant
17                          3- Arsen Muhtarov

18   DATED: 9-21-15         /s/ James R. Greiner
                            ________________________________
19
                            James R. Greiner
20                          Attorney for Defendant
                            4- Valeriy Nikitchu
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22
          IT IS SO ORDERED.
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     Dated: September 24, 2015
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